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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 DEAN DRULIAS,

                                         Plaintiff,

                        - v. -

 CHRISTOPHER W. SHEAN; JOHN C.
 MALONE; STEPHEN M. BRETT; GREGG L.                        Case No.    1:19-cv-01505
 ENGLES; ROBERT HAMMOND; SCOTT W.
 SCHOELZEL; ALEXANDER VON
 FURSTENBERG; LIBERTY EXPEDIA
 HOLDINGS, INC.; AND EXPEDIA GROUP,
 INC.,

                                      Defendants.



                                   NOTICE OF REMOVAL

               PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1441(a), (b) and

1446, defendant Expedia Group, Inc. (“Expedia”) hereby removes the above-captioned action

(the “Action”) from the District Court, Arapahoe County, Colorado, to the United States District

Court for the District of Colorado. This action is removable under 28 U.S.C. § 1441(a) and (b)

because the amount in controversy exceeds $75,000, complete diversity of citizenship exists

between the plaintiff and defendants properly joined in the Action, and no citizen of the State of

Colorado has been “properly joined and served as [a] defendant” in the Action. As grounds for

removal, Expedia states as follows:

               1.     On May 23, 2019 plaintiff Dean Drulias (“Drulias” or “Plaintiff”)

commenced the Action in the District Court, Arapahoe County, Colorado, where said action is

now pending under the above-captioned title. Pursuant to 28 U.S.C. § 1446 and Local Civil Rule

81.1, a copy of the Complaint filed in the Action is attached as Exhibit A.




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               2.      The Action purports to assert claims under § 11-51-501 of the Colorado

Securities Act and for common law fraud and negligent misrepresentation against defendants in

connection with Expedia’s proposed merger with Liberty Expedia Holdings, Inc., which was

announced on April 16, 2019. Drulias claims that defendants made false, incomplete or

misleading statements in the Proxy Statement filed pursuant to federal law with the Securities

and Exchange Commission on May 2, 2019 “soliciting and urging [Liberty Expedia Holdings]

shareholders to vote in favor” of the merger. A copy of the Proxy Statement is attached as

Exhibit B.

               3.      On information and belief, Plaintiff Drulias is a citizen of the State of

California. See Exhibit C, paragraph 4 (Complaint filed by Drulias in Superior Court of the State

of California for and in County of Santa Clara). Plaintiff Drulias, an attorney himself, is a

frequent filer of actions challenging corporate conduct, such as mergers and acquisitions. On

information and belief, either individually or through various partnerships formed for the

purpose of bringing stockholder litigation, he has filed well over 30 such actions in the last 15

years. See In re SS & C Techs., Inc. S’holders Litig., 948 A.2d 1140, 1145 (Del. Ch. 2008). In

those cases, he is typically represented by the same out-of-state counsel on the current Complaint

and whose New York office address has been provided as Plaintiff’s address. Id. Plaintiff

Drulias has been judicially determined to have engaged in stockholder litigation conduct that

“amounted to an abuse of the judicial process and clearly evidences bad faith,” and to run a “web

of investment partnerships” that the court found “disturbing”—as allegedly managed for the

“sole purpose of bringing stockholder lawsuits primarily through his attorney in this action,”

through which he claims “a miniscule, indirect interest in several hundred public companies,”

and which was allegedly sought to be concealed from the court. Id. at 1144, 1151.



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               4.      Defendant Expedia is a Delaware corporation with its principal place of

business in the State of Washington. It is therefore a citizen of Delaware and Washington. See

28 U.S.C. § 1332(c).

               5.      Defendant Christopher W. Shean is a citizen of Colorado.

               6.      Defendant John C. Malone is a citizen of Florida.

               7.      Defendant Stephen M. Brett is a citizen of Colorado.

               8.      Defendant Gregg L. Engles is a citizen of Colorado.

               9.      Defendant Robert Hammond is a citizen of New York. As public

filings—including the Proxy Statement that forms the basis for Plaintiff’s complaint—make

clear, Mr. Hammond was no longer on the board of Liberty Expedia Holdings at the time the

board approved the challenged merger or issued the challenged Proxy Statement. See Exhibit B

at 38, 45-46; Exhibit D (Form 8-K filed by Liberty Expedia Holdings on April 15, 2019); Compl.

¶¶ 3, 21, 24, 37, 48, 55.

               10.     Defendant Scott W. Schoetzel is a citizen of Colorado.

               11.     Defendant Alexander von Furstenberg is a citizen of California. As public

filings—including the Proxy Statement that forms the basis for Plaintiff’s complaint—make

clear, Mr. von Furstenberg was no longer on the board of Liberty Expedia Holdings at the time

the board approved the challenged merger or issued the challenged Proxy Statement. See Exhibit

B at 45-46; Exhibit D; Compl. ¶¶ 3, 21, 24, 37, 48, 55.

               12.     Defendant Liberty Expedia Holdings is a Delaware corporation with its

principal place of business in the State of Colorado. It is therefore a citizen of Delaware and

Colorado. See 28 U.S.C. § 1332(c).




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                 13.   Complete diversity therefore exists as to Plaintiff, on the one hand, and the

properly joined defendants (which do not include defendants Hammond and von Furstenberg),

on the other.1

                 14.   The amount in controversy in this Action exceeds the sum or value of

$75,000, exclusive of interest and costs. The Action seeks to enjoin the proposed merger of

Liberty Expedia Holdings, a company with a market capitalization of nearly $2.6 billion, into

Expedia.

                 15.   This case is properly removable pursuant to 28 U.S.C. § 1441(a) and (b)

because this United States District Court has original jurisdiction of this case under 28 U.S.C. §

1332(a) on the grounds that complete diversity of citizenship exists between the parties to the

Action properly joined and the amount in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs.

                 16.   On information and belief, no defendant that is a citizen of the State of

Colorado has been served in this Action and therefore none has been “properly joined and served

as defendants.” 28 U.S.C. § 1441(b)(2); see also Gibbons v. Bristol-Myers Squibb Co., 919 F.3d

699, 705 (2d Cir. 2019) (“By its text . . . Section 1441(b)(2) is inapplicable until a home-state

defendant has been served in accordance with state law; until then, a state court lawsuit is

removable under Section 1441(a) so long as a federal district court can assume jurisdiction over

the action.”); Encompass Ins. Co. v. Stone Mansion Rest. Inc., 902 F.3d 147, 154 (3d Cir. 2018)

(same).




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 Expedia reserves all rights and waives none, including but not limited to the right to bring a
motion to dismiss the claims in the Action under Rule 12 of the Federal Rules of Civil procedure.

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               17.     Nor has Mr. von Furstenberg been properly joined in this Action. Mr. von

Furstenberg was no longer a member of the Liberty Expedia Holdings board of directors at the

time the board approved the challenged merger or issued the challenged Proxy Statement.

Because there is no “possibility that the state court would find that the complaint states a cause

of action against [Mr. von Furstenberg],” Estate of Hill v. Allstate Ins. Co., 354 F. Supp. 2d

1192, 1196 (D. Colo. 2004), he “should be ignored for the purposes of assessing complete

diversity,” Dutcher v. Matheson, 733 F.3d 980, 988 (10th Cir. 2013).

               18.     Accordingly, the Action is removable to this Court pursuant to 28 U.S.C.

§§ 1441(a) and 1446.

               19.     Expedia received a copy of the Complaint filed in the Action on May 23,

2019 when Plaintiff’s frequent counsel sent a copy to the New York law firm representing

Expedia in the merger. This notice of removal is filed within thirty (30) days of receipt by

defendant of the Complaint. Removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

               20.     Because the other defendants have not been served in this Action, they do

not need to consent to removal. See Sheldon v. Khanal, 502 Fed. Appx. 765, 770 (10th

Cir. 2012) (the “clear statutory language” requires “only served defendants to consent to

removal”).

               21.     Pursuant to 28 U.S.C. § 1446(d) and Local Civil Rule 81.1, Expedia will

file a copy of this Notice of Removal with the Clerk of the District Court, Arapahoe County,

Colorado and will give written notice of the filing of this Notice of Removal to Plaintiff Drulias.

               22.     By filing this Notice of Removal, Expedia does not waive any defense

available to it including, but not limited to, any objections to personal jurisdiction or venue.




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               23.     Expedia reserves the right to amend or supplement this Notice of

Removal.

               WHEREAS, Expedia respectfully requests removal of this action from the

District Court, Arapahoe County, Colorado to the United States District Court for the District of

Colorado.

 Dated: May 27, 2019
                                                       Respectfully submitted,

                                                       DAVIS GRAHAM & STUBBS LLP



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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of May 2019 the foregoing NOTICE OF
REMOVAL was filed via CM/ECF. A copy of this notice is being sent via Federal Express to
the following:

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                                   s/ Layonna Cruz




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